                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                           CEDAR RAPIDS DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
               Plaintiff,                    )    No. 15-CR-00041 LRR
                                             )
        vs.                                  )
                                             )
JAMES HESS,                                  )
                                             )
               Defendant.                    )

       GOVERNMENT’S MEMORANDUM REGARDING SENTENCING

       The United States provides this Memorandum regarding sentencing.

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I.   CASE SUMMARY

     A.   Witnesses: The United States may call the following witnesses:

          1.    Special Agent Justin Mays, Fish and Wildlife Service

          2.    Special Agent Tim Santel, Fish and Wildlife Service

          3.    Wade Steffen

     B.   Exhibits:

          1.    Traffic report dated 3 November 2013

          2.    “Criminal Nature” report from IFAW

          3.    “Legal Trade of Africa’s Rhino Horns” from Science Magazine

          4.    “60K a pound,” Washington Times article from May 17, 2015

          5.    “Like Cocaine Minus the Risk, Rhino Horn Trade Explodes in
                Africa,” International Business Times article from April 9, 2014

          6.    Des Moines Register articles from May 5 and May 6, 2015

          7.    World Wildlife Fund report

     C.   Issues:

          1.    What is the appropriate enhancement for the market value of
                the rhino horns trafficked by defendant pursuant to USSG
                §2Q2.1(b)(3)(A)?

          2.    Whether defendant should receive a two-level enhancement for
                his role in the offense under USSG §3B1.1(c)?




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II.    FACTUAL STATEMENT

       A.      Introduction

       The government’s prosecution of defendant is part of an ongoing, multi

district law enforcement operation known as Operation Crash. 1 Operation Crash,

led by the Fish and Wildlife Service, is an effort to detect, deter and prosecute those

engaged in the illegal trafficking of rhinos and other protected species. The demand

for rhino horn has increased dramatically over the last decade and the value of

rhino horn, which is believed to have medicinal purposes in some parts of Asia, has

also risen sharply. The final retail sale price of rhino horn in the black market can

reach $30,000 a pound (Exhibit 2 at 6) or more (See Exhibit 4 at 1 (citing ecology

professor who was lead author on study regarding rhinos, finding rhino horn can

sell for $60,000 a pound)). The market for rhino horns, both those currently being

poached and horns that may have been legally harvested in the past, has grown,

and illegal trafficking in such horns has concomitantly grown, transforming into a

large, global industry. (Exhibit 2 at 6).

       B.      Defendant’s Involvement in Trafficking Rhino Horns

       In 2011, defendant was involved in the purchase and resale of at least two

sets of black rhino horns. (PSR ¶¶6-7). In approximately April 2011, defendant,

who had been dealing directly in sales of wildlife with an individual named Felix

Kha, 2 contacted Kha and indicated he had a set of black rhino horns for sale. 3 Kha


1A “crash” is the term for a herd of rhinoceros.
2Felix Kha operated Win Lee Corp. in California. Kha was previously prosecuted in federal district
court for the Central District of California, in case number 12-CR-202-CAS-3, for his involvement in
the trafficking of rhino horns.

                                                 3

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then sent a text message to Wade Steffen to ask Steffen to arrange for the purchase

of the rhino horns from defendant. Steffen, who had previously been introduced by

Kha to defendant, arranged to meet defendant at Steffen’s parents’ home in

Richmond, Illinois, to complete the transaction. Steffen paid defendant $40,000 for

the set of horns, which weighed approximately eight pounds. (PSR ¶6). During this

transaction, defendant asked Steffen to create an affidavit that would indicate the

rhino horns were legally transferred in intrastate commerce; Steffen refused to do

so, indicating defendant should have received such an affidavit from the original

seller of the horns. 4

       In August 2011, Christopher Melgard, a resident of Oregon, advertised on the

internet that he was selling a pair of black rhino horns. (PSR ¶7). Defendant

contacted Mr. Melgard and arranged to buy the horns from him for $16,000. Id.

Defendant told Mr. Melgard that he had arranged for someone else in Oregon to buy

the horns, but defendant eventually contacted Steffen to see if Steffen would be

interested in another pair of black rhino horns. Id. The two agreed to buy the

horns from Mr. Melgard, with defendant first going to get $17,000 from Steffen’s

3 The government expects additional details of defendant’s transactions beyond what is set forth in
the PSR to be elicited during the testimony of the government’s witnesses at the sentencing hearing
in this matter and, therefore, has not provided citations to the PSR for all factual statements in this
memorandum.
4 In his objection to paragraph 6 of the PSR, defendant indicates he purchased this set of rhino horns

from Delores Partoll in Palos Heights, Illinois. Law enforcement did not learn of the April 2011
transaction until a proffer interview with Steffen in June 2012 and, even at that time, Steffen did
not know exactly where the black rhino horns came from. According to an online obituary, there was
a Delores Partoll living in Palos Heights, Illinois, but she passed away in early 2012. See Obituary
for Delores Partoll, available at
http://www.legacy.com/obituaries/chicagotribune/obituary.aspx?pid=155700190 (last visited
September 28, 2015). However, even if defendant did purchase the horns in Illinois, the government
believes the evidence will establish by a preponderance that he knew Steffen would be transporting
the horns out of Illinois, to Kha in California, and, therefore, the April 2011 transaction/horn set is
properly scored as relevant conduct.

                                                  4

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parents in Illinois and then travelling to Oregon to complete the deal on August 23,

2011. Id.

       Upon meeting with Mr. Melgard, defendant gave him a copy of an Oregon

driver’s license purporting to be the ultimate buyer of the rhino horns, though this

person, as defendant then knew, had no involvement in the rhino horn transaction.

Id. Defendant then paid Mr. Melgard $16,000, removed the horns from the rhino

mount, and arranged to have the horns shipped back to his home in Maquoketa,

Iowa. (PSR ¶8). On August 24, 2011, defendant sent a text message to Steffen,

indicating defendant had the horns at his home and that the horns weighed ten

pounds. Id. Defendant then met with Steffen in Davenport, Iowa, and gave the

horns to Steffen, aware that Steffen intended to send the horns to Kha in

California. Id.

III.   Defendant’s Offense Level Should be Enhanced by 14 Levels Under
       USSG §2Q2.1(b)(3)(A) Because the Market Value of the Horns he
       Trafficked Exceeds $400,000

       Defendant objects to a 14 level enhancement for the market value of the

black rhino horns exceeding $400,000. (PSR ¶16). Pursuant to USSG §2Q2.1(b)(3),

which cross references to the value table found in §2B1.1, the offense level is

enhanced based upon the “market value” of the wildlife at issue. In this case, the

PSR scores defendant with a 14 level increase based upon a market value of

$540,000. (PSR ¶16). Defendant objects to this scoring and argues the market

value should be less for two reasons: first, because the April 2011 rhino horns

should not be included in the market value calculation and, second, because the



                                          5

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PSR used a $30,000 a pound retail price to determine the fair market value.

Instead, defendant contends the market value should be $50,000, based upon the

sale of the August 2011 horns to Felix Kha. Both arguments fail and the Court

should enhance defendant’s offense level by 14.

        A.      Defendant’s trafficking of a set of rhino horns in April 2011 is
                relevant conduct and should be considered in determining the
                enhancement for market value

        Defendant objects to the inclusion of the set of rhino horns he transferred to

Steffen in April 2011 in the calculation of the market value of the trafficked wildlife.

Defendant contends his sale of this set of horns, which weighed approximately eight

pounds, was legal because, according to him, he purchased the horns in Illinois and

transferred the horns to Steffen in Illinois. 5 Therefore, according to defendant, he

did not illegally traffic black rhino horns across state lines in April 2011.

Defendant’s argument fails because, as established by a preponderance of the

evidence, defendant was aware that the horns would be transported to at least

California and his involvement with these horns is properly considered relevant

conduct and should be included in the market value calculation.

        When applying specific offense characteristics, such as the enhancement for

market value under USSG §2Q2.1(b)(3), the Court considers all relevant conduct,

which includes “all acts and omissions committed, aided, abetted, counseled,

commanded, induced, procured, or willfully caused by the defendant” and “in the

case of a jointly undertaken criminal activity . . . all reasonably foreseeable acts and


5 It is a crime under federal law to engage in the interstate trafficking of black rhino horns, but
federal law does not criminalize the intrastate sale of such horns.

                                                    6

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omissions of others in furtherance of the jointly undertaken criminal activity.”

USSG §1B1.3(a)(1)-(2). If joint criminal activity includes contraband, “the

defendant is accountable for all quantities of contraband with which he was directly

involved and . . . all reasonably foreseeable quantities of contraband that were

within the scope of the criminal activity that he jointly undertook.” USSG §1B1.3,

comment. (n.2).

      Here, defendant apparently disputes whether the April 2011 horn should be

considered relevant conduct. However, defendant, even if he purchased the rhino

horns at issue in Illinois and gave them to Steffen in Illinois, could at the least

reasonably foresee that Steffen, with whom he was engaged in joint criminal

conduct starting at least at the time of this transaction, would further transport

those horns out of Illinois, specifically to Felix Kha in California. Defendant and

Steffen met because Kha introduced them. Defendant and Steffen were engaged in

this rhino horn transaction only because Kha had sent a text message to Steffen,

asking him to work with defendant on the transaction, after defendant had initially

contacted Kha about the rhino horns at issue, presumably because defendant knew

Kha would be willing to pay for the horns. There is no indication Steffen ever

planned to keep the horns in Illinois. Further, during phone conversations later in

2011 and 2012 with an undercover law enforcement agent, defendant demonstrated

he knew that the market for rhino horns was overseas, even if during those

conversations he was telling the undercover officer the horns had to stay in the




                                           7

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state of sale. (PSR ¶9). 6 During 2011, while engaged in the illegal trafficking of

black rhino horns, defendant demonstrated he was willing to deal in interstate sales

and cannot now argue he had no idea that the horns he had offered to Kha would

leave Illinois after defendant gave them to Steffen. Defendant knew, or at least it

was certainly reasonably foreseeable to him, that those horns would leave Illinois

and end up in at least California with Kha. The April 2011, eight pound set of

horns is properly considered relevant conduct and should be considered in the

calculation of the market value for purposes of USSG §2Q2.1(b)(3).

       B.      A Reasonable Estimate of the Market Value of the Rhino Horns
               Defendant Trafficked is $30,000 a Pound, for a Total Value of
               Approximately $540,000

       Defendant also disputes the PSR’s recommendation that the market value of

the rhino horns in this case be calculated using a value of $30,000 a pound, which,

considering both set of horns at issue, results in a total market value of

approximately $540,000. 7 Defendant does not object to the weight of the horns as

set out in the PSR, therefore, the Court must only determine a reasonable

approximation for the market value of the horns.

       Unlike drug cases, in which a defendant’s sentencing range is often

dependent upon a relatively objective measure of the weight of the drugs at issue,


6 Defendant demonstrated the beginnings of a pattern of telling people he was hoping to buy rhino
horns from that the horns had to stay in the state of sale, telling both the seller of the August 2011
horns in Oregon and the undercover law enforcement officer that the horns would be staying in
Oregon and Indiana, respectively. (PSR ¶¶7, 9). In the case of the purchase in Oregon, defendant
clearly did not intend to keep the horns in the state, having already arranged to transfer the horns to
Steffen before defendant even purchased them in Oregon. (PSR ¶7).
7 The April 2011 set of horns weighed approximately eight pounds and, at $30,000 a pound, had a

market value of $240,000. (PSR ¶6). The August 2011 set of horns weighed approximately ten
pounds and, at $30,000 a pound, had a market value of $300,000. (PSR ¶8).

                                                  8

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the sentencing range in this case is dependent upon a more subjective measure,

specifically the market value of the horns. USSG §2Q2.1(b)(3)(A). “Market value”

is to be based upon “the fair-market retail price” of the wildlife, if such information

is “reasonably available.” USSG §2Q2.1, comment. (n.6). If “the fair-market retail

price is difficult to ascertain, the court may make a reasonable estimate using any

reliable information.” Id. While the government does not believe there is a

definitive market value for black rhino horns, there will sufficient evidence in both

the government’s exhibits 8 and witness testimony to allow the Court to make a

“reasonable estimate [of the fair-market retail price] using any reliable

information.” USSG §2Q2.1, comment. (n.4).

       A preponderance of evidence establishes that $30,000 a pound is a reasonable

estimate of the fair market retail value of the rhino horns. First, in a statement

dated 3 November 2013, Thomas Milliken, Elephant and Rhino Programme Leader

of TRAFFIC International, estimates that the end value of rhino horn at the end of

the trade chain is $45,000 a kilogram, or approximately $20,454 a pound. (Exhibit

1 at 3). 9 Second, a June 2013 report from the International Fund for Animal

Welfare specifically aimed at discussing the global security implications of illegal

wildlife trade cites a retail value of $30,000 a pound for rhino horn on the black

market. (Exhibit 2 at 6). Third, a March 2013 article in Science magazine found

8 A number of the government’s exhibits are lengthy articles discussing the trafficking of rhino horns
or other wildlife in general. Those exhibits are offered both as overall context for the impact of
illegal wildlife trafficking, but also specifically to aid the Court in making a reasonable estimate of
the retail value of the horns at issue. The government will cite to specific portions of these exhibits
within this brief it believes will assist the Court in making this determination.
9 The government has requested Mr. Milliken provide an update to this statement. As of the

submission of this memorandum, the government has not yet received this update. If the
government does receive an update, it will file it as an additional exhibit.

                                                  9

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that rhino horns were selling for $65,000 a kilogram, or approximately $29,545 a

pound, in 2012. (Exhibit 3 at 1). Fourth, news articles have reported values of

$60,000 a pound (Exhibit 4 at 1) and nearly $30,000 a pound (Exhibit 5 at 1).

Finally, a World Wildlife Fund report indicates that rhino horns sell for around

$60,000 a kilogram, or approximately $27,272 a pound, and that it is worth more

than twice the value of gold and platinum. (Exhibit 7 at 11). In short, most studies

indicate the value of rhino horns as being between $20,000 and $30,000 a pound.

The government expects to present additional testimony at the sentencing hearing

from a law enforcement officer from the Fish and Wildlife Service supporting the

proposition that $30,000 a pound is a reasonable estimate.

          Even if the Court finds a lower value per pound is a reasonable estimate of

the fair market value, defendant’s enhancement pursuant to USSG §2Q2.1(b)(3)(A)

will be 14 levels unless the Court finds the overall value of the horns does not

exceed $400,000. See USSG §2Q2.1(b)(3)(A) (citing USSG §2B1.1, which requires a

14 level enhancement for market value of in excess of $400,000 but not more than

$1,000,000 and a 12 level enhancement for market value in excess of $200,000 but

not more than $400,000). Therefore, if the Court finds defendant should be

assessed with a market value for both sets of rhino horns, which total 18 pounds, as

long as the Court finds the per pound market value of the horns is more than

$22,222.28, 10 the Court should find defendant should be assessed with a 14 level

enhancement. If the Court finds the per pound market value of the horns is



10   $400,001 divided by 18 pounds of rhino horns.

                                                     10

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between $11,111.17 11 and $22,222.28, the Court should assess defendant with a 12

level enhancement for the market value being greater than $200,000 but no more

than $400,000.

          Defendant argues the Court should only assess the value of the August 2011

horns at $50,000, resulting in a 6 level enhancement. (PSR ¶16). $50,000 is the

amount Steffen received from Kha as payment for the horns (PSR ¶8), but is not a

reasonable estimate of the fair market retail price of the horns. The amount paid

by Kha to Steffen is only an early link in the chain of trade for rhino horns. The

actual market for horns is overseas and that retail value is the appropriate value to

use in determining an enhancement under USSG §2Q2.1(b)(3)(A). See United

States v. Eyoum, 84 F.3d 1004, 1007 (7th Cir. 1996) (finding that the price defendant

sold wildlife for was not the appropriate measure of value under USSG

§2Q2.1(b)(3)(A)); see also United States v. Borden, 10 F.3d 1058, 1063 (4th Cir. 1993)

(upholding enhancement under USSG §2Q2.1(b)(3)(A) based upon market value of

wildlife rather than the defendant’s profits). Defendant may argue he should be

sentenced according to the value he and Steffen placed on the horns rather than the

market value, but this is appropriate only when no market value is reasonable

ascertainable, which is not true in this case. United States v. Oehlenschlager, 76

F.3d 227, 229 (8th Cir. 1996). Therefore, defendant’s sentence should be enhanced

by the fair market retail price under USSG §2Q2.1(b)(3)(A), not based upon the

price of the horns when sold to Kha.



11   $200,001 divided by 18 pounds of rhino horns.

                                                     11

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IV.   Defendant’s Offense Level Should be Enhanced by Two Levels Under
      USSG §3B1.1(c) Because of his Role in the Offense

      Defendant’s offense level should be increased by two levels because of his role

in the criminal activity at issue, namely the trafficking of the August 2011 rhino

horns, pursuant to used sophisticated means under USSG §3B1.1(c). An

adjustment under this section is appropriate when “defendant was an organizer,

leader, manager, or supervisor in any criminal activity[.]@ USSG '3B1.1(c).

A[W]hen considering whether '3B1.1(c) applies, it is unnecessary to determine

whether the defendant was a mere >manager or supervisor= or instead was a more

responsible >organizer or leader.=@ United States v. Jackson, 639 F.3d 479, 483 (8th

Cir. 2011). Still, Application Note 4, which discusses the distinction between

Amanager or supervisor@ and Aorganizer or leader,@ remains Aa helpful guide in

determining whether '3B1.1(c) should be applied to a defendant.@ Id.

       Application Note 4 lists several factors that the court may consider,

including Athe exercise of decision making authority, the nature of participation in

the commission of the offense, the recruitment of accomplices, the claimed right to a

larger share of the fruits of the crime, the degree or participation in planning or

organizing the offense, the nature and scope of the illegal activity, and the degree of

control and authority exercised over others.@ USSG '3B1.1, comment. (n.4). The

terms Amanager@ and Asupervisor@ are construed broadly. United States v. Payton,

636 F.3d 1027, 1048 (8th Cir. 2011). Further, there is no Astrict condition requiring

evidence of control or decision making authority over one or more accomplices as an

absolute prerequisite for a manager/supervisor enhancement under USSG '3B1.1.@

                                          12

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United States v. Gaines, 639 F.3d 423, 428 n.4 (8th Cir. 2011). For example, Athe

simple fact that a defendant recruits new members into a conspiracy supports a

finding of the defendant being a manager or supervisor.@ Payton, 636 F.3d at 1048.

Degree of control and decision making authority Aare but two of several factors in a

non-exhaustive list[.]@ Gaines, 639 F.3d at 428.

       Here, defendant recruited Steffen to participate in the August 2011 sale of

rhino horns to Kha. While Steffen had already been involved in the illegal

trafficking of horns, it was only because defendant contacted him and recruited his

assistance that Steffen participated in the purchase and sale of the horns in August

2011. (PSR ¶7). Further, it is clear defendant was the driving force, the organizer,

for the August 2011 horn purchase and resale. Defendant not only contacted

Steffen, he also, as the PSR notes, located the horns in Oregon, contacted the seller

in Oregon, negotiated the price of the horns, arranged the purchase and exchange,

shipped the horns from Oregon to Iowa, and arranged the meeting with Steffen.

(PSR ¶¶7-8). Defendant may not have exercised control over Steffen, but he

recruited Steffen into the transaction and then exercised control over the

transaction from that point on, until he ultimately surrendered the horns to Steffen.

Therefore, defendant is eligible for and should receive a two level enhancement for

his role in the offense.




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V.      Conclusion

        Based on the above, the United States contends the sentencing guidelines

should be applied as follows before the Court rules on Acceptance of Responsibility:

         Base offense level (§2B1.1)                                            6

         Market Value (§2Q2.1(b)(3)(A))                                    +14

         Role in the Offense (§3B1.1(c))                                    +2

         Adjusted Offense Level                                                22


                                                      Respectfully submitted,
     CERTIFICATE OF SERVICE

 I certify that I electronically served a copy
 of the foregoing document to which this              KEVIN W. TECHAU
 certificate is attached to the parties or
 attorneys of record, shown below, on                 United States Attorney
 September 28, 2015.

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